Case: 1:18-cv-00428-CAB Doc #: 3 Filed: 05/09/18 1 of 3. PageID #: 13




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


SECUNDA WILLIAMS-STARR,                       )      CASE NO. 1: 18 CV 428
                                              )
               Plaintiff,                     )      JUDGE CHRISTOPHER A. BOYKO
                                              )
        v.                                    )
                                              )      OPINION AND ORDER
NORMAHER SHELTER, et al.,                     )
                                              )
                                              )
               Defendants.                    )


CHRISTOPHER A. BOYKO, J.:


       Pro Se Plaintiff Secunda Williams-Starr has filed this civil action against “Normaher

Shelter” and “Community Shelter.” (Doc. No. 1.) Although she appears to contest some sort

of eviction, her Complaint does not set forth coherent factual allegations or cogent legal

claims against the Defendants. Rather, her Complaint consists largely of unclear legal

rhetoric. The only relief she appears to seek is for the Court “to surrender [her] payment and

free [her] of squatters and the Rico Act Law.” (Doc. No. 1-2.)
Case: 1:18-cv-00428-CAB Doc #: 3 Filed: 05/09/18 2 of 3. PageID #: 14



       Although the standard of review for pro se pleadings is liberal, the generous

construction afforded pro se plaintiffs has limits. Pilgrim v. Littlefield, 92 F.3d 413, 416 (6th

Cir. 1996). Pro se plaintiffs must still meet basic pleading requirements, and courts are not

required to conjure allegations on their behalf. See Erwin v. Edwards, 22 F. App'x 579, 2001

WL 1556573 (6th Cir. Dec. 4, 2001). Federal district courts are required, under 28 U.S.C. §

1915(e)(2)(B), to screen all in forma pauperis complaints filed in federal court and to dismiss

before service any such action the court determines is frivolous or malicious, fails to state a

claim on which relief may be granted, or seeks monetary relief from a defendant who is

immune from such relief. See 28 U.S.C. § 1915(e)(2)(B). To state a claim on which relief

may be granted, a complaint must set forth sufficient factual matter, accepted as true, to state

claim to relief that is plausible on its face. Hill v. Lappin, 630 F.3d 468, 471 (6th Cir. 2010)

(holding that the dismissal standard articulated in Ashcroft v. Iqbal, 556 U.S. 662 (2009) and

Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) governs dismissals under 28 U.S.C. §

1915(e)(2)(B)). Although detailed factual allegations are not required, the “allegations must

be enough to raise a right to relief above the speculative level.” Twombly, 550 U.S. at 555.

Additionally, they must be sufficient to give the defendants “fair notice of what [the

plaintiff’s] claims are and the grounds upon which they rest.” Swierkiewicz v. Sorema N.A.,

534 U.S. 506, 514 (2002).

       Even according the Plaintiff’s Complaint the deference to which a pro se pleading is

entitled, it does not meet basic requirements or state a claim on which relief may be granted

and must be dismissed pursuant to § 1915(e)(2)(B). The unclear and conclusory statements

and sentence fragments set forth in the Plaintiff’s Complaint are insufficient to suggest she


                                                -2-
Case: 1:18-cv-00428-CAB Doc #: 3 Filed: 05/09/18 3 of 3. PageID #: 15



has any plausible federal claim against any Defendant in the case. See Lillard v. Shelby Cty.

Bd. of Educ., 76 F.3d 716, 726 (6th Cir. 1996) (a court is not required to accept summary

allegations or unwarranted conclusions in determining whether a complaint states a claim for

relief).

                                            Conclusion

           Accordingly, the Plaintiff’s Motion to Proceed In Forma Pauperis (Doc. No. 2) is

granted, and her Complaint is dismissed pursuant to 28 U.S.C. § 1915(e)(2)(B). The Court

further certifies, pursuant to 28 U.S.C. § 1915(a)(3), that an appeal from this decision could

not be taken in good faith.

           IT IS SO ORDERED.



                                               s/ Christopher A. Boyko
                                               CHRISTOPHER A. BOYKO
                                               United States District Judge
Dated: May 9, 2018




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